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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

KYLIE STEELE,

Plaintiff,
Vv.

NATIONAL RAILROAD PASSENGER
CORPORATION,

Defendant.

 

 

CASE NO. C19-5553BHS

SPECIAL VERDICT FORM

We, the jury, award Plaintiff Kylie Steele the following amounts in this matter:

L. Past non-economic damages:

2. Future non-economic damages:

3. Past economic damages:

4, Future economic damages:
Total:

Sign and return this verdict form.

Dated: November 23 2021.

 

ORDER - i

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,2,000,000
,215,000
;3,700,000

56,875,000

 

 

Foreperson

 
